 Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 1 of 20 PageID 1




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

LISA TRAVELSTEAD and KAARL TRAVELSTEAD,

        Plaintiffs,

v.                                                                 CASE NO: 6:22-CV-1459

U.N. MANAGEMENT LIMITED LIABILITY
COMPANY, a foreign limited liability company
d/b/a DAYS INN, and NATVARLAL V.
UMRIGAR a/k/a NATU UMRIGAR,
an individual,

      Defendants.
______________________________________/

                      DEFENDANTS' NOTICE OF FILING REMOVAL

        Defendants, U.N. MANAGEMENT LIMITED LIABILITY COMPANY, a foreign

limited liability company d/b/a DAYS INN, and NATVARLAL V. UMRIGAR a/k/a NATU

UMRIGAR, under 28 U.S.C. §§ 1331, 1441, and 1446, hereby removes to this Court the lawsuit

captioned Lisa Travelstead and Kaarl Travelstead v. U.N. Management Limited Liability

Company, d/b/a Days Inn, and Natvarlal V. Umrigar a/k/a Natu Umrigar, Case No.:05-2022-CA-

036517, which was filed on July 12, 2022, in the Circuit Court of Brevard County, Florida, (The

"State Court Action"). In support of removal, Defendants state:

        1.      On    July    12,   2022,   Plaintiffs,   LISA    TRAVELSTEAD           and   KAARL

TRAVELSTEAD, filed the State Court Action against Defendants. A copy of the Summons and

Complaint are attached as collective Exhibit A.

        2.      This is a civil action in which the District Courts of the United States have

original jurisdiction, in that this action alleges violations all Defendants violated Plaintiffs' rights

and the rights of a putative class under the Fair Labor Standards Act, as amended, 29 U.S.C.
 Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 2 of 20 PageID 2




§201, et. seq., and minimum wages under the Florida Minimum Wage Amendment, Article X,

§24 of the Florida Constitution. Thus, the suit raises a federal question, and there is original

jurisdiction in the District.

        3.      Court of the United States as provided in 28 U.S.C. § 1331. Under the provisions

of 28 U.S.C. § 1441(a), the right exists to remove this action from the Circuit Court of the State

of Florida, in and for Brevard County to the United States District Court for the Middle District

of Florida, Orlando Division, which embraces the place where this action is pending.

        4.      This Notice of Removal is filed within thirty (30) days after service of the

complaint on Defendant which occurred on July 27, 2022.

        5.      Notice to State Court of Filing this Notice of Removal will be filed in the Circuit

Court of the 18th Judicial Circuit, in and for Brevard County, Florida in accordance with 28

U.S.C. § 1446(d). (See Exhibit B attached).

        DATED: August 16, 2022.


                                              /s/ Nikhil N. Joshi
                                              NIKHIL N. JOSHI, ESQ.
                                              Florida Bar Number: 123803
                                              LORRAINE MAASS HULTMAN, ESQ.
                                              Florida Bar Number: 250511
                                              Attorneys for Defendants
                                              Hultman + Joshi P.A.
                                              2055 Wood Street, Suite 208
                                              Sarasota, FL 34237
                                              T: 941.218.2800/Fax: 941.218.2801
                                              lori@hultmanjoshi.com
                                              nik@hultmanjoshi.com
                                              hjassistant@hultmanjoshi.com
 Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 3 of 20 PageID 3




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 16th day of August 2022 a true and correct copy of
the foregoing has been filed electronically using the Court’s E-filing Portal and that copies of the
same have been served by email to:

Peter Bober, Esq.
Bober & Bober, P.A.
2699 Stirling Road
Suite A304
Hollywood, FL 33312
954-922-2298
Email: peter@boberlaw.com; annie@boberlaw.com samara@boberlaw.com
Attorneys for Plaintiffs
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 4 of 20 PageID 4
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 5 of 20 PageID 5
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 6 of 20 PageID 6
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 7 of 20 PageID 7
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 8 of 20 PageID 8
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 9 of 20 PageID 9
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 10 of 20 PageID 10
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 11 of 20 PageID 11
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 12 of 20 PageID 12
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 13 of 20 PageID 13
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 14 of 20 PageID 14
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 15 of 20 PageID 15
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 16 of 20 PageID 16
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 17 of 20 PageID 17
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 18 of 20 PageID 18
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 19 of 20 PageID 19
Case 6:22-cv-01459-RBD-EJK Document 1 Filed 08/16/22 Page 20 of 20 PageID 20
